

People v Duchi (2025 NY Slip Op 02793)





People v Duchi


2025 NY Slip Op 02793


Decided on May 7, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 7, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

BETSY BARROS, J.P.
LINDA CHRISTOPHER
LILLIAN WAN
JANICE A. TAYLOR, JJ.


2017-06056
 (Ind. No. 1074/16)

[*1]The People of the State of New York, respondent,
vJuan Sumba Duchi, appellant.


Juan Sumba Duchi, Coxsackie, NY, appellant pro se.
Susan Cacace, District Attorney, White Plains, NY (Virginia A. Marciano of counsel), for respondent.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated October 16, 2019 (People v Duchi, 176 AD3d 968), affirming a judgment of the County Court, Westchester County, rendered May 23, 2017.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
BARROS, J.P., CHRISTOPHER, WAN and TAYLOR, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








